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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                               )
 SOVERAIN SOFTWARE LLC,
                                               )
         Plaintiff,                            )
                                               )
         v.                                    )        Case No. 6:07-CV-00511-LED
                                               )
 CDW CORPORATION,                              )        JURY TRIAL DEMANDED
 NEWEGG INC.,                                  )
 REDCATS USA, INC.                             )
 SYSTEMAX INC.,                                )
 ZAPPOS.COM, INC.,                             )
 REDCATS USA, L.P.,                            )
 THE SPORTSMAN’S GUIDE, INC.,                  )
 AND                                           )
 TIGERDIRECT, INC.,                            )
                                               )
         Defendants.                           )

       ORDER GRANTING LEAVE TO FILE AMENDED CLAIM CONSTRUCTION

         Having considered the parties’ Joint Motion for Leave to File Amended P.R. 4-3 Claim

 Constructions and Prehearing Statement dated March 20, 2009 and attachments (collectively, the

 “Amended P.R. 4-3 submissions”), the Court finds that the Motion should be GRANTED, and

 orders as follows:

         (1) The parties are granted leave to file the Amended P.R. 4-3 Claim Constructions and

 Prehearing Statement accompanying the Motion.

         (2) The Court adopts the claim constructions in Soverain Software LLC v. Amazon.com,

 Inc., 6:04-cv-14 (the “Amazon Markman Order”) in the present case, except where expressly

 disputed in the Amended P.R. 4-3 submissions. In particular, subject to the preceding condition,

 claim terms for U.S. Pat. Nos. 5,715,314 and 5,909,492 asserted in the present case will have the

 same meaning as construed in the Amazon Markman Order, and the claim terms common to U.S.




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 Pat. No. 5,708,780 (asserted in Civil Action 6:04-cv-14) and its continuation U.S. Pat. No.

 7,272,639 (asserted in the present case) will have the same meaning as construed in the Amazon

 Markman Order.

         (3) Defendants Newegg Inc., Systemax Inc, and TigerDirect, Inc. will preserve their right

 to appeal such claim constructions adopted from the Amazon Markman Order where expressly

 indicated in Exhibit A in the Amended P.R. 4-3 submissions. Any appeal from such claim

 constructions is to be limited to the record in Soverain Software LLC v. Amazon.com, Inc., 6:04-

 cv-14, in particular: the respective P.R. 4-3 submissions, the parties’ claim construction briefs,

 the Markman hearing transcript, and the Amazon Markman Order.




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